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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 VINCENZO A. SALERNO,

                    Plaintiff,
                                               CIVIL NO. ___________________
 v.

 MEGA PACKAGE STORE, LLC,
                                               JURY TRIAL REQUESTED
                    Defendant.



                                   COMPLAINT

      Plaintiff Vincenzo A. Salerno (“Salerno” or “Plaintiff”), by and through his

undersigned counsel, files the following Complaint against Mega Package Store

LLC (“Mega Package” or “Defendant”).

                                    Introduction

                                              1.

      This action is brought pursuant to the Fair Labor Standards Act of 1938, as

amended (“FLSA”), 29 U.S.C. § 201, et seq.

                                              2.

      This is an action for unpaid overtime in violation of the FLSA. Plaintiff

seeks recovery of his unpaid overtime wages, liquidated damages, attorney’s fees,

costs, and other relief as provided by law.

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                                           3.

      Defendant employed Plaintiff as a security guard and as a sales/stock clerk

between October 2015 and April 2016. Throughout that time, Defendant

misclassified Plaintiff as an independent contractor in order to avoid paying

Plaintiff the overtime wages to which he was entitled under the FLSA.

                              Jurisdiction and Venue

                                           4.

      Plaintiff’s FLSA claims present federal questions over which this Court has

jurisdiction pursuant to 28 U.S.C. §§ 1331 and 29 U.S.C. § 216(b).

                                           5.

      This Court is an appropriate venue under 28 U.S.C. § 1391(b)(1) for all of

Mr. Salerno’s claims as the judicial district in which Defendant failed to pay to Mr.

Salerno the overtime wages to which he was lawfully entitled under the FLSA.

                                     The Parties

                                           6.

      Plaintiff is a citizen of the United States and a resident of the State of

Georgia. He is a former employee of Defendant. Plaintiff submits himself to the

jurisdiction of this Court.




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                                           7.

      Defendant is a limited liability company organized under the laws of and

doing business in the State of Georgia and is, therefore, subject to personal

jurisdiction in Georgia.

                                           8.

      Defendant is subject to service of process through its registered agent,

Jonathan H. Fain, at 66 Lenox Pointe, Atlanta, Georgia 30324.

                                           9.

      Throughout the time that Plaintiff performed security guard services for

Defendant, Defendant was an “enterprise engaged in commerce or the production

of goods for commerce” within the meaning of the FLSA.

                                           10.

      Throughout the time that Plaintiff performed security guard services for

Defendant, Defendant had employees engaged in commerce or who were working

on goods or materials that had been moved in or produced for commerce.

                                           11.

      On information and belief, throughout the time that Plaintiff performed

security guard services for Defendant, Defendant’s annual gross volume of sales

made exceeded $500,000.




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                                             12.

      Defendant suffered or permitted Plaintiff to work.

                                             13.

      Throughout the time that Plaintiff performed security guard and other

services for Defendant, Plaintiff was engaged in commerce on Defendant’s behalf.

                                     The Facts

                                             14.

      Defendant hired Plaintiff in October 2015.

                                             15.

      Plaintiff worked for Defendant as an armed security guard from October

2015 to April 2016 (hereinafter, the “Relevant Period”). During the Relevant

Period, he also periodically performed duties for Defendant as a sales/stock clerk.

                                             16.

      Throughout the Relevant Period, Plaintiff worked a minimum of eight hours,

and often 12 to 15 hours per day.

                                       17.

      Throughout the Relevant Period, Plaintiff worked six to seven days per

week. Plaintiff estimates that over the course of the approximately six months that

he worked for Defendant, he had no more than about five days off.




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                                             18.

         Throughout the Relevant Period, Plaintiff worked 50-70 hours each week.

                                             19.

         Defendant told Plaintiff at the time of his hire that he would be treated as an

independent contractor, but Defendant never offered him any contract.

                                             20.

         Defendant treated Plaintiff as an employee and not as an independent

contractor.

                                             21.

         Defendant controlled the hours that Plaintiff worked by setting his schedule

for every week.

                                             22.

         Defendant controlled Plaintiff’s work by providing explicit instructions

about how, where, and when he should do his job, and by regularly offering

criticism and feedback on his performance.

                                             23.

         Defendant established procedures for performing the security tasks that

comprised Plaintiff’s job, and Defendant trained him in how to perform those

tasks.




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                                           24.

      Defendant required Plaintiff to work exclusively for Mega Package and

prohibited him from working for anyone else.

                                           25.

      Defendant required Plaintiff to work at times and on a schedule set by

Defendant and over which Plaintiff had little or no control.

                                           26.

      Plaintiff had no opportunity for profit or loss depending on his managerial

skill. Plaintiff had no opportunity to exercise managerial skill during his

employment with Defendant.

                                           27.

      Plaintiff had no authority to hire personnel in connection with the

performance of his security work for Defendant.

                                           28.

      While working as a sales/stock clerk, Plaintiff was required to wear a

uniform that Defendant provided and which bore the Mega Package Store logo.

Plaintiff had to provide his own uniform while working as a security guard.

                                           29.

      Although Plaintiff had to have a license issued by the State of Georgia in

order to perform services as an armed security guard, his work for Defendant did


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not require any specialized skill beyond that required of any person who obtains

and maintains a license to work as a security guard in the State of Georgia.

                                           30.

      His work for Defendant was Plaintiff’s sole source of income during the

Relevant Period.

                                           31.

      Defendant paid Plaintiff a straight hourly wage of $15-$17 per hour for all

hours worked as a security guard.

                                           32.

      Defendant did not pay Plaintiff a premium rate of one and one half times his

regular rate for all hours worked in excess of 40 in each workweek.

                                           33.

      When Plaintiff performed non-security-guard (sales/stock) work, Defendant

paid him on a payroll check, subject to withholdings, at a straight hourly rate of

$10/hour, regardless of the number of hours he worked that workweek.

                                           34.

      Defendant paid Plaintiff for his security guard work on a non-payroll check,

which was not subject to withholdings. That income was reported to the IRS on a

Form 1099.




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                                          35.

      The IRS has determined that Defendant misclassified Plaintiff as an

independent contractor in relation to his work as a security guard and issued an SS-

8 determination explaining its findings. Following a thorough analysis of all facts

available to it, the IRS concluded: “[T]he firm had the right to exercise discretion

and control over the worker to the degree necessary to establish that the worker

was a common law employee and not an independent contractor operating a trade

or business.”

                                          36.

      Defendant deliberately misclassified Plaintiff as an independent contractor

in order to avoid its obligations under the FLSA.

                                          37.

      As a result of Defendant’s unlawful and deliberate misclassification of

Plaintiff as an independent contractor, Defendant deprived Plaintiff of overtime

wages to which he is lawfully entitled under the FLSA.

                        COUNT I
 VIOLATION OF THE MAXIMUM HOURS PROVISIONS OF THE FAIR
                  LABOR STANDARDS ACT

                                          38.

      Plaintiff incorporates by reference all of the preceding paragraphs of the

Complaint.


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                                         39.

      At all relevant times, Defendant had gross revenues in excess of $500,000.

                                         40.

      At all times relevant to this Complaint, Defendant has been and continues to

be an employer engaged in interstate commerce, within the meaning of the FLSA,

29 U.S.C. § 207(a).

                                         41.

      Throughout the Relevant Period, Defendant employed Plaintiff.

                                         42.

      Pursuant to Defendant’s compensation policies, rather than pay Plaintiff the

federally-mandated premium rate for all hours worked in excess of 40 in each

workweek, Defendant improperly classified Plaintiff as an independent contractor.

                                         43.

      Plaintiff worked for Defendant more than 40 hours in every work week

throughout the Relevant Period.

                                         44.

      Defendant paid Plaintiff only straight hourly pay throughout the Relevant

Period.




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                                           45.

      Defendant’s failure to pay Plaintiff an overtime premium rate of one and one

half times his regular rate of pay is unlawful under the FLSA.

                                           46.

      Defendant’s failure to pay Plaintiff an overtime premium rate of one and one

half times his regular rate of pay was willful.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands a trial by jury and prays for judgment

against Defendant as follows:

          A. An award of unpaid overtime wages to Plaintiff;

          B. An award of liquidated damages to Plaintiff;

          C. An award of costs and expenses of this action together with the

  reasonable attorneys’ fees incurred by Plaintiff in this action; and

          D. Such other and further relief as this Court deems just and proper.

  Respectfully submitted this 18th day of November, 2017.

                                                  /s/ Lisa D. Taylor
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